
46 So.3d 1050 (2010)
Ileana M. VALDES, Appellant,
v.
BARRY UNIVERSITY and Fireman's Fund Insurance Co., Appellees.
No. 1D09-4799.
District Court of Appeal of Florida, First District.
September 30, 2010.
Rehearing Denied November 18, 2010.
Ileana M. Valdes, pro se, Appellant.
Eduardo E. Neret of the Law Offices of Eduardo E. Neret, P.A., Miami, for Appellees.
*1051 PER CURIAM.
Appellant has failed to comply with an order of this Court directing her to file an Initial Brief. In the order, this Court specifically warned that the failure to comply could result in dismissal of the appeal without further opportunity to be heard. See Fla. R.App. P. 9.410. Accordingly, this appeal is DISMISSED.
WOLF, ROBERTS, and WETHERELL, JJ., concur.
